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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION


UNITED STATES OF AMERICA,
                                               CAUSE NO. CR 08-40-M-DWM
                        Plaintiff,
                                               FINDINGS & RECOMMENDATION
                                               CONCERNING PLEA

ANTHONY MICHAEL CONNER,

                        Defendant.

     The Defendant, by consent, has appeared before me under Fed.
R. Crim. P. 11 and has entered a plea of guilty to the charge of
Conspiracy to Destroy or Damage Property of an Energy Facility
in violation of 18 U.S.C. 5 371 and 18 U.S.C. 5 1366(b), as set
forth in the Indictment.

    After examining the Defendant under oath, the Court
determined that the guilty plea was knowingly, intelligently, and
voluntarily entered; that the Defendant fully understands his
constitutional rights and the extent to which such rights are
waived; and that the offense charged and to which a guilty plea


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was entered contained each of the essential elements of the
offense.
     The Court further concludes that the Defendant had adequate
time to review the Plea Agreement with counsel, that he fully
understands each and every provision of the agreement and that
all of the statements in the Plea Agreement are true.            I
recommend that the Defendant be adjudged guilty and that sentence
be imposed.'

     This report is forwarded with the recommendation that the

Court defer a decision reqardinq acceptance until the Court has

reviewed the Plea Acrreement and the presentence report.

             DATED this   & day ofA
                                  August, 2008.




                                    ~nit.,kd states-~agistrateJudge




     ' Objections to these Findings and Recommendation are waived
unless filed and served within ten (10) days.        28 U.S.C. 5
636(b) (1)( B ) ; Fed. R. Crim. P. 59(b) (2).
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